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                     EXHIBIT 12A
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              Compensation Framework for Wetlands Real Property Claims

1. Eligibility Requirements

     A. Eligible Claimants shall be comprised of claimants who do not fall within the
        exclusions to the Economic Loss and Property Class Definition and who were
        owners of Eligible Parcels during the time period April 20, 2010 to [the date of the
        Settlement Agreement].

         i.   The Claims Administrator shall determine whether an Eligible Claimant(s) is the
              owner of an Eligible Parcel.

     B. Wetlands Real Property Claim Zone shall be defined as the blue shaded portions of
        the Wetlands Real Property Compensation Zone Map attached as Appendix A. (See
        Appendix B for a description of the criteria used to establish the “Wetlands Real
        Property Claim Zone”).

     C. Eligible Parcels shall be defined as parcels located within the Wetlands Real
        Property Claim Zone.

     D. An Eligible Parcel shall be placed into one of two Compensation Categories:

              Compensation Category A shall be defined as those Eligible Parcels that were
              documented as containing the presence of oil by one or more of the following:

                     The published reports of the Deepwater Horizon Unified Command
                      Shoreline Cleanup Assessment Technique teams (“SCAT”).

                     The Pre-assessments conducted as part of Phase 1 of the Natural Resource
                      Damages Assessment process (“NRD Pre-assessment”).

                     The Rapid Assessments conducted as part of Phase 1 of the Natural
                      Resource Damages Assessment process (“NRD Rapid Assessment”).

                     The Coastal Wetland Vegetation Assessment conducted as part of the
                      Restoration Planning Phase of the Natural Resource Damages Assessment
                      process (“NRD CWVA”).

              Compensation Category B shall be defined as those Eligible Parcels that were
              never documented as containing the presence of oil by any of the following:
              SCAT, NRD Pre-assessment, NRD Rapid Assessment, or NRD CWVA.

         i.   An Eligible Parcel shall be classified as having the presence of oil (criteria for
              Compensation Category A) if the parcel meets any of the following conditions:


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                    a.    Any SCAT Zone1 within the parcel has a maximum oiling
                          classification other than “no oil observed.” A “SCAT Zone” is an area
                          within a SCAT Segment which has a boundary defined by the
                          condition of oil observed during a survey by SCAT assessment teams
                          in the Louisiana wetlands.

                    b.    Any NRD Pre-assessment conducted within the parcel reported the
                          presence of oil on vegetation and/or sediment.

                    c.    Any NRD Rapid Assessment conducted within the parcel reported an
                          Oil Thickness Code of anything other than “NA” or recorded a Depth
                          of Penetration greater than zero.

                    d.    Any NRD CWVA conducted within the parcel reported a Vegetation
                          Oiling Extent Index of greater than zero or a Sediment Surface Oiling
                          Coverage of greater than zero.

         ii.   An Eligible Parcel shall be classified as never being documented as containing
               the presence of oil (criteria for Compensation Category B) if the following
               conditions are met for each assessment conducted within the Eligible Parcel:

                    a.    No SCAT zone within the parcel has a maximum oiling classification
                          other than “no oil observed.”

                    b.    No NRD Pre-assessment conducted within the parcel reported the
                          presence of oil on vegetation and/or sediment.

                    c.    No NRD Rapid Assessment conducted within the parcel reported an
                          Oil Thickness Code other than “NA” and reported a Depth of
                          Penetration greater than zero.

                    d.    No NRD CWVA conducted within the parcel reported a Vegetation
                          Oiling Extent Index greater than zero or a Sediment Surface Oiling
                          Coverage greater than zero.



1
  For the purposes of calculating the Wetlands Real Property Compensation Amount, the Claims
Administrator will use the SCAT Zones defined by the Maximum Oiling Observed file
published on the Environmental Resource Management Application (ERMA) Gulf Response
website, which was developed jointly by the National Oceanic and Atmospheric Administration
(NOAA) Office of Response and Restoration, the University of New Hampshire, and the U.S.
Environmental Protection Agency. The Maximum Oiling Observed file can be viewed and
downloaded on the ERMA Gulf Response website at http://gomex.erma.noaa.gov/. To access the
file, select “SCAT” and then select “Maximum Oiling Observed.”

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        iii.   Administrator’s Database: The Claims Administrator shall maintain a
               Geographic Information Systems database (“Administrator’s Database”)
               containing the results of SCAT, NRD Pre-assessment, NRD Rapid Assessment,
               NRD CWVA, and the best available information on parcel boundaries for all real
               property within the Wetlands Real Property Claim Zone. The Claims
               Administrator shall apply the appropriate Compensation Category for each
               Eligible Parcel based upon the information in the Administrator’s Database and
               consistent with the criteria in Section 1. D. Attached as Appendix C is a map
               classifying each known Eligible Parcel into a Compensation Category by
               applying the information in the Administrator’s Database as of the settlement
               date. This map shall be referred to as the Eligible Parcel Compensation
               Category Map. The Administrator’s Database is presumed to be the best
               available evidence, however, that presumption may be rebutted as outlined in
               Sections E., F., G. and H. below. The use of environmental data (including SCAT
               and NRDA data) as part of this Compensation Framework shall not constitute an
               admission or judicial determination related to the admissibility or interpretation of
               such data for any other purpose, and, further, the use of such data shall have no
               effect on, and shall be without prejudice to, the use, admissibility and
               interpretation of such data for any other purpose, including any claims for natural
               resource damages.

      E. A parcel not located within the Wetlands Real Property Claim Zone may be added to
         the Wetlands Real Property Claim Zone by the Claims Administrator only if the
         parcel is documented as containing the presence of oil pursuant to SCAT or an official
         assessment conducted by the Natural Resource Trustees in connection with the DWH
         Spill. Only parcels located in the following geographic area (“Area of Potential
         Eligibility”) are eligible to provide such documentation:

          i.   As far west as the Louisiana/Texas state line

         ii.   As far east as the Louisiana/Mississippi state line

        iii.   As far south as the end of Louisiana state waters

        iv.    As far north as one half mile inland from the Wetlands Real Property Claim
               Zone (refer to Appendix D for the “Area of Potential Eligibility Map”)2

      F. The Administrator’s Database contains the best available parcel boundary data for
         real property in the Wetlands Real Property Claim Zone. In some instances, this data
         may be incomplete or out of date. Accordingly, real property located in the Wetlands
         Real Property Claim Zone not identified as a parcel shall nonetheless be classified by


2
 This map shows the boundaries within which parcel owners are eligible to submit additional
documentation to become Eligible Parcels.

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         the Claims Administrator as an Eligible Parcel provided the claimant documents the
         following:

          i.   Actual presence of the parcel in the Wetlands Real Property Claim Zone.
               Documentation of actual presence of a parcel in the Wetlands Real Property
               Claim Zone must consist of an official document provided by the parish tax
               assessor (such as a 2010 parish tax notice), Clerk of Court, Registrar of Lands, or
               other governmental lands office or agency, or a professional survey of the parcel.

      G. The Administrator’s Database contains the best available parcel boundary data for
         real property in the Wetlands Real Property Claim Zone. In some instances, the
         named owner(s) of a parcel may be inaccurate or out-of-date. Accordingly, a claimant
         not listed in the Administrator’s Database will be treated as an Eligible Claimant if
         the claimant provides the following to demonstrate Eligible Claimant’s ownership of
         an Eligible Parcel:

          i.   An official copy of the deed for the Eligible Parcel.

               AND

         ii.   The 2010 property tax assessment notice for the eligible parcel or an official
               document from the Clerk of Court, Registrar of Lands or other governmental land
               office or agency showing proving ownership of the Eligible Parcel during the
               time period April 20, 2010 to [the date of the Settlement Agreement].3

        iii.   To the extent a state, parish, municipality or other governmental agency agrees to
               provide the Claims Administrator with access to an official database sufficient for
               the Claims Administrator to confirm the claimant owned the parcel for which they
               are seeking compensation, the Claims Administrator need not require from the
               Eligible Claimant an official copy of the deed or official copy of the 2010
               property tax assessment notice for the parcel for which they are seeking
               compensation. Rather, the Claims Administrator is authorized to accept from the
               claimant the street address and tax identification number or parcel identification
               number for the Eligible Parcel for which they are seeking compensation as
               sufficient to satisfy this subpart, and the Claims Administrator will use the
               database to confirm the claimant’s valid ownership during the time period April
               20, 2010 to [the date of the Settlement Agreement].



3
 In some counties, issuance of 2010 tax assessment notices may occur prior to April 20, 2010
such that the correct owner of the eligible parcel may not be reflected, (for example if notices
were mailed January 2010 but ownership changed February 2010). In such a case, a claimant
may provide other documentation such as a copy of the real estate closing/settlement statement
from a sale, in order to prove ownership.

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      H. An Eligible Parcel within the Wetlands Real Property Claim Zone may be
         reclassified by the Claims Administrator into a different Compensation Category if
         the following condition is satisfied:

           i.         An Eligible Parcel within the Wetlands Real Property Claim Zone shall be
                      reclassified by the Claims Administrator from Compensation Category B to
                      Compensation Category A if the Eligible Claimant provides independent
                      documentation in the form of a government or academic publication or map, not
                      commissioned by the Eligible Claimant or the Eligible Claimant’s attorney or
                      agent, with said independent documentation establishing that a portion of the
                      Eligible Parcel contained the presence of oil although no portion of the Eligible
                      Parcel is classified as containing the presence of oil pursuant to the published
                      reports of SCAT, NRD Pre-Assessment, NRD Rapid Assessment or NRD
                      CWVA.

          ii.         The Claims Administrator shall undertake an investigation to determine whether
                      the information submitted pursuant to this Section satisfies the criteria for
                      reclassification set out H. i. and H. ii.

2. Compensation for Wetlands Real Property

     A. An Eligible Claimant must submit a Claim Form4, all required supporting documents
        and a Verification Statement to receive compensation for an Eligible Parcel. The
        Claim Form, Document Requirements and Verification Statement are attached as
        Appendices E, F and G.

     B. An Eligible Claimant who submits a Claim Form, all required supporting documents,
        and a Verification Statement, shall be entitled to receive the appropriate Wetlands Real
        Property Compensation amount (“Wetlands Real Property Compensation Amount”)
        based upon the criteria outlined in this section.

     C. The Wetlands Real Property Compensation Amount shall be calculated as explained
        below. See Appendix H for an example calculation of Wetlands Real Property
        Compensation Amount on a hypothetical parcel in Compensation Category A.

                 i.      An Eligible Parcel in Compensation Category A shall be compensated for
                         an Oiled Primary Area, a Non-Oiled Primary Area, and a Buffer Area.

                ii.      An Eligible Parcel in Compensation Category B shall be compensated for a
                         Non-Oiled Primary Area only.



4
 The Claims Administrator may prepare the final Claim Form consistent with Appendix E. In
no case shall the final Claim Form omit the substance of any question contained in Appendix E.

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       iii.   Oiled Primary Area shall be defined as an area 50 feet immediately inland
              from the following:

              a. The SCAT Zone(s) documented as containing the presence of oil within
                 an Eligible Parcel that is located on the portion of the shoreline assessed
                 by SCAT teams (“SCAT Line”).

              b. The SCAT Zone nearest to the location of any NRD Pre-assessment,
                 NRD Rapid Assessment, or NRD CWVA which reported the presence of
                 oil within an Eligible Parcel if no SCAT Zone also within the parcel
                 reported the presence of oil.

       iv.    Buffer Area shall be defined as an area 30 feet immediately inland from the
              entire length of the Oiled Primary Area.

        v.    Non-Oiled Primary Area shall be defined as an area 30 feet immediately
              inland from SCAT Zone(s) documented as not containing the presence of oil
              within an Eligible Parcel.

       vi.    Eligible Parcels in Compensation Category A shall be paid a Wetlands
              Real Property Compensation Amount calculated as follows:

              a. The Oiled Primary Area shall be compensated at $25,000 per acre
                 (“Oiled Rate”).

              b. The Buffer Area shall be compensated at $10,000 per acre (“Buffer
                 Rate”).

              c. The Non-Oiled Primary Area shall be compensated at $11,000 per acre
                 (“Non-Oiled Rate”).

       vii.   Eligible Parcels in Compensation Category B shall be paid a Wetlands
              Real Property Compensation Amount calculated as follows:

              a. The Non-Oiled Primary Area shall be compensated at $4,500 per acre
                 (“Non-Oiled Rate B”). See Appendix I for an example calculation of
                 Wetlands Real Property Compensation Amount on a hypothetical
                 parcel in Compensation Category B.

      viii.   Appendix J provides examples of the calculation of the Wetlands Real
              Property Compensation Amount.

       ix.    Eligible Parcels shall be entitled to the minimum payments as outlined below.
              Appendix K provides an example of the calculation for a minimum Wetlands
              Real Property Compensation Amount.

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                       a. Parcels in Compensation Category A shall be compensated for a
                          minimum of one acre of Oiled Primary Area and a minimum of one
                          acre of Buffer Area, equal to a total of $35,000.

                       b.      Parcels in Compensation Category B shall be entitled to
                            compensation for a minimum of one acre of Non-Oiled Primary
                            Area, equal to $4,500.

   D. An RTP of 2.5 shall be applied to the Wetlands Real Property Compensation Amount.
      For example, a hypothetical Wetlands Real Property Compensation Amount of
      $38,788 (refer to Appendix K), would receive an RTP equal to $96,970 for a total
      Wetlands Real Property Compensation Amount of $135,758 inclusive of RTP.

   E. The Wetlands Real Property Compensation Amount shall be allocated as follows:

         i.   For an Eligible Parcel for which there is only one Eligible Claimant, the
              Eligible Claimant shall receive the entire portion of the Wetlands Real
              Property Compensation Amount.

        ii.   For an Eligible Parcel for which there is more than one Eligible Claimant, the
              Wetlands Real Property Compensation Amount shall be allocated based on the
              period of legal possession of the particular Eligible Parcel by each Eligible
              Claimant between April 20, 2010, and [the date of the Settlement Agreement].
              The allocation shall be determined by dividing the Wetlands Real Property
              Compensation Amount by the number of days between April 20, 2010 and [the
              date of the Settlement Agreement] and then multiplying the result by the number
              of days each Eligible Claimant had legal possession of the Eligible Parcel.

       iii.   The Claims Administrator shall determine whether an Eligible Claimant(s) is the
              owner of an Eligible Parcel

3. Physical Damage to Real or Personal Property

   A. Physical Damage shall be defined as any physical damage that occurred to an Eligible
      Claimant’s real or personal property located on an Eligible Parcel(s) in connection with
      the DWH Spill response cleanup operations that were consistent with the National
      Contingency Plan or specifically ordered by the Federal On-Scene Coordinator or
      delegates thereof, with the exception of any damage claimed for intrusion of oil,
      dispersant or other substances onto the Eligible Claimant’s Eligible Parcel(s). Damages
      for claims of intrusion of oil, dispersants or other substances on an Eligible Parcel are
      addressed in Section 2. B. above.




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       i.   Some examples of Physical Damage include but are not limited to Physical
            Damage that occurred to a dock, a building, a structure, appurtenances, a patio, or
            a deck located on an Eligible Parcel caused by a vehicle, machinery or equipment
            in use for DWH Spill response cleanup operations.

 B. An Eligible Claimant must provide the Claims Administrator with satisfactory proof of
    all of the following items below in order to qualify to receive compensation for Physical
    Damage:

       i.   The claimant is an Eligible Claimant.

      ii.   The claimed Physical Damage occurred on an Eligible Parcel.

     iii.   The Physical Damage occurred between April 20, 2010 and the date the
            Economic Injury and Property Claim Settlement Agreement is executed by the
            parties.

     iv.    The condition of the real or personal property prior to the claimed physical
            damage.

      v.    The Eligible Claimant owned the real or personal property for which Physical
            Damaged is claimed at the time the damage occurred. The Claims Administrator
            shall determine whether an Eligible Claimant(s) is the owner of the personal
            property.

     vi.    The Physical Damage was caused by DWH Spill response cleanup operations.

     vii.   For an Eligible Claimant claiming to have incurred costs to repair or replace the
            damaged property, evidence to establish that the costs were incurred by the
            Eligible Claimant and that they were reasonable and necessary.

    viii.   For an Eligible Claimant seeking compensation for costs not yet incurred to
            repair or replace the damaged property, a cost estimate and proof the costs are
            reasonable and necessary.

 C. An Eligible Claimant must comply with the Claim Form, Document Requirements
    and Verification Statement listed in Appendices E, F and G in order to qualify to
    receive compensation for Physical Damage.




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   D. An Eligible Claimant who claims Physical Damage and satisfies Section 3. A, 3. B and
      3. C above shall receive the lesser of the reasonable and necessary costs to repair or
      replace the damaged property.

         i.   The Claims Administrator shall have the authority to verify the Eligible
              Claimant’s estimate of repair and replacement costs, and to undertake an
              investigation to determine the reasonableness of the costs to repair or replace the
              damaged property, including obtaining an independent estimate.

        ii.   In no event is an Eligible Claimant entitled to receive pursuant to this Section 3
              damages for intrusion of oil, dispersants or other substances onto the Eligible
              Claimant’s Eligible Parcel(s). Compensation for claims of intrusion of oil,
              dispersants or other substances on an Eligible Parcel are addressed in Section 2.
              B above.

4. Federal and State Regulatory Requirements

   A. Nothing in this Compensation Framework for Coastal Real Property Claims shall
      alter, expand, or reduce BP’s obligations for cleanup, removal, spill response and
      remediation of real property under applicable federal, state, or local laws, regulations,
      orders, or agreements. Eligible Claimant shall acknowledge that any right to require any
      cleanup or remediation of the parcel shall not lie with the claimant, but solely with
      governmental authorities, and that the need for any cleanup or remediation, and the
      standards by which the need for or sufficiency of such remediation is decided, shall be
      determined by governmental regulators of the executive department in accordance with
      properly promulgated law, rules, regulations, orders or agreements. Such governmental
      regulators alone shall make such determinations, and the Eligible Claimant shall not
      employ regulatory proceedings as a means to seek the redress of claims, which are
      extinguished pursuant to this Settlement Agreement. It is expressly agreed that this
      acknowledgement of continued potential responsibility for governmental compliance on
      the part of the BP (and all other parties released) shall not grant the claimant any personal
      jurisdiction recourse with respect to the regulatory obligations of the released parties. In
      the event proceedings, formal or informal, occur before governmental authorities, the
      claimant agrees to cooperate fully with the released parties in addressing questions or
      concerns presented by such proceedings; the Eligible Claimant shall provide full and
      free access to the Eligible Parcel in connection therewith, and shall further cooperate
      with the released parties in undertaking and proposing by the released parties such
      remediation that the released parties deem most appropriate, desirable, and/or cost-
      effective in meeting regulatory requirements, irrespective of any personal claims,


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    preferences, rights of use or similar considerations of the Eligible Claimant, it being
    understood that such personal claims and considerations fall within the scope of the
    claims released by the Eligible Claimant.




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             Compensation Framework for Wetlands Real Property Claims
                                    Appendix A
                   Wetlands Real Property Compensation Zone Map


The Wetlands Real Property Compensation Zone Map is found in a separate document.




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              Compensation Framework for Wetlands Real Property Claims
                                        Appendix B
            Criteria Used to Establish the Wetlands Real Property Claim Zone
The following criteria were used to establish the Wetlands Real Property Claim Zone:

1. Areas directly intersected by the SCAT Line, regardless of whether or not the presence of oil
   was reported on that portion of the SCAT Line, depicted below:




2. Parcels in which an NRD Pre-assessment, NRD Rapid Assessment, and/or NRD CWVA
   reported the presence of oil, depicted below:




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3. Where there is a break in an otherwise continuous portion of a SCAT Line, BP and the PSC
   jointly selected parcels that would have likely been intersected by the SCAT Line if it had
   been continuous.




The zone geography is based on Tobin Digital Ownership maps published by P2 Energy
Solutions in Cameron, Calcasieu, Iberia, St. Mary, Iberia, Lafourche, Jefferson, Plaquemines,
and St. Bernard Parishes. In Terrebonne Parish, the zone geography is based on parcel
boundaries published by the Terrebonne Parish Tax Assessor.




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             Compensation Framework for Wetlands Real Property Claims
                                     Appendix C
                    Eligible Parcel Compensation Category Map


The Eligible Parcel Compensation Category Map is found in a separate document.




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              Compensation Framework for Wetlands Real Property Claims
                                         Appendix D
                              Area of Potential Eligibility Map


The Area of Potential Eligibility Map is located in a separate document.




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               Compensation Framework for Wetlands Real Property Claims
                                     Appendix E
                          Wetlands Real Property Claim Form


1. Are you claiming you are entitled to compensation for one or more parcels you owned during
   the time period April 20, 2010 to [the date of the Settlement Agreement] under the
   Compensation Framework for Wetlands Real Property Claims?


                                      ____ Yes      ____ No


2. If you answered yes to Question 1, are you also claiming you are entitled to compensation for
   physical damage that occurred to your real or personal property located on your parcel(s) in
   connection with the DWH Spill response clean-up operations during the time period April
   20, 2010 to [the date of the Settlement Agreement]?


                                      ____ Yes      ____ No


If you answered yes to any of the questions above, (i) answer the questions below, (ii) provide
the documentation required in the Document Requirements form (Appendix F), and (iii)
complete a Wetlands Real Property Verification Statement (Appendix G).


3. What is the street address of the parcel(s)?

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________




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4. What is the tax assessment identification number of the parcel(s)?

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________


5. What is the parcel identification number of the parcel(s)?
   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________


You must only answer the following questions if you claim you are entitled to compensation for
physical damage that occurred to your real or personal property located on your parcel(s).


6. Identify and describe the real or personal property that you claim was physically damaged in
   connection with the DWH Spill response cleanup operations.

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________




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7. Describe the physical damage that you claim occurred to your real or personal property
   located on your parcel(s) in connection with the DWH Spill response clean-up operations.

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________


8. Where on your parcel was your real or personal property located when the damage occurred?

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

9. When did the physical damage to your real or personal property occur?

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________




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10. Describe in detail what caused the physical damage to your real or personal property.

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

11. If you know, were the DWH Spill response cleanup operations that you claim caused the
    physical damage to your real or personal property consistent with the National Contingency
    Plan or specifically ordered by the Federal On-Scene Coordinator or delegates thereof?

                       ____ Yes      ____ No          _____ I Don’t Know



12. If you know, who caused the physical damage to your real or personal property?

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________


13. Describe the condition of the real or personal property prior to the damage you claim
    occurred.

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________



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14. Did you own the real or personal property that you claim was damaged at the time the
    damage occurred?

                                      ____ Yes       ___ No


15. Have you already incurred the cost to repair or replace the real or personal property that you
    claim was physically damaged?


                                      ____ Yes       ___ No


16. If your answer to Question 15 is yes, please identify the following:


       a. Was the damaged property repaired or replaced?

           _____________________________________________________________________


       b. If the damaged property was replaced, state the reasons that the property was replaced
          instead of being repaired.

           _____________________________________________________________________

           _____________________________________________________________________

           _____________________________________________________________________


       c. If the damaged property was replaced, state the name and address of the individual or
          business from which the replacement was obtained and the cost you incurred to
          replace the property.
           _____________________________________________________________________

           _____________________________________________________________________

           _____________________________________________________________________




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       d. If the damaged property was repaired, state the name and address and telephone
          number of the individual or business that did the repairs, the cost you incurred to
          repair the property, and identify the repairs that were done.
           _____________________________________________________________________

           _____________________________________________________________________

           _____________________________________________________________________

           _____________________________________________________________________

           _____________________________________________________________________


17. If the answer to Question 15 is no, please identify the following:


       a. State whether the damaged property can be repaired:


                                      ____ Yes        ___ No


       b. If the damaged property can be repaired, have you obtained a cost estimate to repair
          the damaged property?
                                      ____ Yes        ___ No


       c. If you have obtained a cost estimate to repair the damaged property, state the name
          address and phone number of the individual or entity that provided the cost estimate,
          what repairs are being done and the amount of the cost estimate for the repairs.


           _____________________________________________________________________

           _____________________________________________________________________

           _____________________________________________________________________

           _____________________________________________________________________

           _____________________________________________________________________




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    d. If you claim that the damaged property cannot be repaired, explain the reasons for
       your claim.
       _____________________________________________________________________

       _____________________________________________________________________

       _____________________________________________________________________

       _____________________________________________________________________

       _____________________________________________________________________




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               Compensation Framework for Wetlands Real Property Claims
                                     Appendix F
                          Wetlands Real Property Claim Form
                               Document Requirements

To receive compensation under the Compensation Framework for Wetlands Real Property
Claims you must provide copies of the documents described below.

1. Owners of parcel(s) seeking compensation under the Compensation Framework for
   Wetlands Real Property Claims must provide the following:

        a. Official copy of the deed for the parcel for which you are seeking compensation.

               i. To the extent a state, parish, municipality or other governmental agency
                  agrees to provide the Claims Administrator with access to an official database
                  sufficient for the Claims Administrator to confirm the claimant owned the
                  parcel for which they are seeking compensation, the Claims Administrator
                  need not require from the Eligible Claimant an official copy of the deed or
                  official copy of the 2010 property tax assessment notice for the parcel for
                  which they are seeking compensation. Rather, the Claims Administrator is
                  authorized to accept from the claimant the street address and tax identification
                  number or parcel identification number for the Eligible Parcel for which they
                  are seeking compensation as sufficient to satisfy this subpart, and the Claims
                  Administrator will use the database to confirm the claimant’s valid ownership
                  during the time period April 20, 2010 to [the date of the Settlement
                  Agreement].

        b. Official copy of the 2010 property tax assessment notice.5

               i. To the extent a state, parish, municipality or other governmental agency
                  agrees to provide the Claims Administrator with access to an official database
                  sufficient for the Claims Administrator to confirm the claimant owned the
                  parcel for which they are seeking compensation, the Claims Administrator
                  need not require from the Eligible Claimant an official copy of the deed or
                  official copy of the 2010 property tax assessment notice for the parcel for
                  which they are seeking compensation. Rather, the Claims Administrator is

5
 In some counties, issuance of 2010 tax assessment notices may occur prior to April 20, 2010
such that the correct owner of the eligible parcel may not be reflected, (for example if notices
were mailed January 2010 but ownership changed February 2010). In such a case, a claimant
may provide other documentation such as a copy of the real estate closing/settlement statement
from a sale, in order to prove ownership.

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                  authorized to accept from the claimant the street address and tax identification
                  number or parcel identification number for the Eligible Parcel for which they
                  are seeking compensation as sufficient to satisfy this subpart, and the Claims
                  Administrator will use the database to confirm the claimant’s valid ownership
                  during the time period April 20, 2010 to [the date of the Settlement
                  Agreement].

       c. If you believe your parcel should be added to the Wetlands Real Property Claim
          Zone (see Section 1. E.), documentation showing a parcel contains the presence of oil
          pursuant to SCAT or by an official assessment conducted by the Natural Resource
          Trustees in connection with the DWH Spill.

       d. If your parcel is not identified in the Wetlands Real Property Claim Zone and
          should be (see Section 1. F. i.), an official document provided by the county tax
          assessor, Clerk of Court, Registrar of Lands or other governmental lands office or
          agency, or a professional survey of the parcel showing actual presence of the parcel
          within the Wetlands Real Property Claim Zone.

       e. If you believe the Administrator’s Database does not list you as the owner of a
          parcel in the Wetlands Real Property Claim Zone that you own (see Section 1. G. i.
          - ii.), an official copy of the deed and the 2010 property tax assessment notice for the
          parcel.

       f. If you believe your parcel should be reclassified from Compensation Category B to
          Compensation Category A (see Section 1. H. i.), independent documentation in the
          form of a government or academic report, not commissioned by the Eligible
          Claimant or the Eligible Claimant’s attorney or agent, with said independent
          documentation establishing that the Eligible Parcel contains the presence of oil
          released by the DWH Spill.

       g. Completed Verification Statement.

2. Owners of parcel(s) seeking compensation for physical damage to real or personal property
   pursuant to Section 3. B. of the Compensation Framework for Coastal Real Property
   Claims, must provide the Claims Administrator proof of the items below. Proof may consist
   of documents, receipts, photographs, videotaped footage, a sworn statement from the
   claimant and sworn statements from a witness(es).

       a. The claimed physical damage to your real or personal property occurred on a parcel
          listed in the Claim Form.

       b. The physical damage occurred between April 20, 2010 and [date of settlement
          agreement].



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    c. The condition of the real or personal property prior to the claimed physical damage.

    d. You owned the real or personal property at the time the physical damage occurred.

    e. The physical damage was caused by DWH Spill response cleanup operations.

    f. If you claim to have incurred costs to repair or replace the damaged property,
       evidence to establish that the costs were incurred by you and that they were
       reasonable and necessary.

    g. If you are seeking compensation for costs not yet incurred to repair or replace the
       damaged property, a cost estimate and proof the costs are reasonable and necessary.




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               Compensation Framework for Wetlands Real Property Claims
                                    Appendix G
                    Wetlands Real Property Verification Statement



I, _________________________________, owned my parcel during the period April 20, 2010 to
[the date of the Settlement Agreement].




I declare and affirm under penalty of perjury under the laws of the United States of America that
the foregoing is true and correct.



________________________________________
Signature



________________________________________
Date




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                Compensation Framework for Wetlands Real Property Claims
                                       Appendix H
     Example of Wetlands Real Property Compensation Amount6 on Hypothetical Parcel In
                                 Compensation Category A

      100




       80
                                Oiled Primary Area Buffer
                                30 ft depth inland of the entire
                                length of the Oiled Primary
                                Area
                                Buffer Rate:
                   Depth (ft)




                                $10,000 / acre of Primary Area
       50




        30



                                Oiled Primary Area                 Non-Oiled Primary Area
                                50 ft depth from SCAT Line         30 ft depth from SCAT Line

                                Oiled Rate:                        Non-Oiled Rate:
                                $25,000 / acre of Primary Area     $11,000 / acre of Primary Area




         0


              Parcel Boundary         Oiled SCAT Zone                 Non-Oiled SCAT Zone

              SCAT Line
6
    The final compensation amount shown in this Appendix is exclusive of an RTP of 2.50.

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                Compensation Framework for Wetlands Real Property Claims
                                        Appendix I
     Example of Wetlands Real Property Compensation Amount7 on Hypothetical Parcel in
                                Compensation Category B




               80
                         Depth (ft)




               50




               30
                                               Non-Oiled Primary Area
                                              30 ft depth from SCAT Line

                                                   Non-OiledRate:
                                             $4,500 / acre of Primary Area




                0


                    Parcel Boundary             Non-Oiled SCAT Zone

                    SCAT Line




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    The final compensation amount shown in this Appendix is exclusive of an RTP of 2.50.

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                  Compensation Framework for Wetlands Real Property Claims
                                          Appendix J
              Calculation Example of Wetlands Real Property Compensation Amount8
           Example 1 – Compensation Category A: Parcels Documented as Oiled by SCAT


     Key                                 Field                             Formula           Values
      A       Oiled SCAT Zone Length (ft)                                                       1,500
      B       Oiled Primary Area Depth (Section 2. C. iii.) (ft)                                      50
      C       Oiled Primary Area (ft2 )                                      AxB               75,000
                                                                                      2
      D       Oiled Primary Area (acres)                                 C / 43,560 ft           1.72
      E       Oiled Rate (Section 2. C. vi. a.)                                               $25,000
      F       Oiled Primary Area Compensation                                DxE              $43,044
      G       Oiled Buffer Primary Area Depth (Section 2. C. iv.) (ft)                                30
                                            2
      H       Oiled Buffer Primary Area (ft )                               AxG                45,000
       I      Oiled Buffer Primary Area (acres)                          H / 43,560 ft2          1.03
       J      Buffer Rate (Section 2. C. vi. b.)                                              $10,000
      K       Oiled Buffer Primary Area Compensation                         IxJ              $10,331
      L       Non-Oiled SCAT Zone Length (ft)                                                   1,800
      M       Non-Oiled Primary Area Depth (Section 2. C. v.) (ft)                                    30
      N       Non-Oiled Primary Area (ft2 )                                 LxM                54,000
                                                                                         2
      O       Non-Oiled Primary Area (acres)                             N / 43,560 ft           1.24
      P       Non-Oiled Rate (Section 2. C. vi. c.)                                           $11,000
      Q       Non-Oiled Primary Area Compensation                            O xP             $13,636
      R       Wetlands Real Property Compensation Amount                   F+K+Q              $67,011




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    The final compensation amount shown in this Appendix is exclusive of an RTP of 2.50.

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               Compensation Framework for Wetlands Real Property Claims
                                      Appendix J
          Calculation Example of Wetlands Real Property Compensation Amount9
      Example 2 – Compensation Category B: Parcels not Documented as Oiled by SCAT




     Key                               Field                             Formula           Values
       A    Oiled SCAT Zone Length (ft)                                                             -
       B    Oiled Primary Area Depth (Section 2. C. iii.) (ft)                                      50
                                   2
       C    Oiled Primary Area (ft )                                       AxB                      -
                                                                                    2
       D    Oiled Primary Area (acres)                                 C / 43,560 ft                -
       E    Oiled Rate (Section 2. C. vi. a.)                                               $25,000
       F    Oiled Primary Area Compensation                                DxE                      -
       G    Oiled Buffer Primary Area Depth (Section 2. C. iv.) (ft)                                30
                                             2
       H    Oiled Buffer Primary Area (ft )                               AxG                       -
       I    Oiled Buffer Primary Area (acres)                          H / 43,560 ft2               -
       J    Buffer Rate (Section 2. C. vi. b.)                                              $10,000
       K    Oiled Buffer Primary Area Compensation                         IxJ                      -
       L    Non-Oiled SCAT Zone Length (ft)                                                   2,000
      M     Non-Oiled Primary Area Depth (Section 2. C. v.) (ft)                                    30
                                         2
       N    Non-Oiled Primary Area (ft )                                  LxM                60,000
                                                                                       2
       O    Non-Oiled Primary Area (acres)                             N / 43,560 ft           1.38
       P    Non-Oiled Rate B (Section 2. C. vii. a.)                                         $4,500
       Q    Non-Oiled Primary Area Compensation                            O xP              $6,198
       R    Wetlands Real Property Compensation Amount                   F+K+Q               $6,198




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    The final compensation amount shown in this Appendix is exclusive of an RTP of 2.50.

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                 Compensation Framework for Wetlands Real Property Claims
                                       Appendix K
       Calculation Example of Minimum Wetlands Real Property Compensation Amount 10
               Compensation Category A: Parcels Documented as Oiled by SCAT


     Key                                          Field                                    Formula           Values
      A     Oiled SCAT Zone Length (ft)                                                                           450
      B     Oiled Primary Area Depth (Section 2. C. iii.) (ft)                                                        50
                                   2
      C     Oiled Primary Area (ft )                                                         AxB               22,500
                                                                                                         2
      D     Oiled Primary Area (acres)                                                   C / 43,560 ft           0.52
      E     Minimum Oiled Primary Area (acres) - If Oiled Primary Area < 1 acre                                  1.00
      F     Oiled Rate (Section 2. C. vi. a.)                                                                 $25,000
      G     Oiled Primary Area Compensation                                                  ExF              $25,000
      H     Oiled Buffer Primary Area Depth (Section 2. C. iv.) (ft)                                                  30
                                             2
       I    Oiled Buffer Primary Area (ft )                                                 AxH                13,500
                                                                                                     2
       J    Oiled Buffer Primary Area (acres)                                            I / 43,560 ft           0.31
      K     Minimum Oiled Buffer Primary Area (acres) - If Oiled Primary Area < 1 acre                           1.00
      L     Buffer Rate (Section 2. C. vi. b.)                                                                $10,000
      M     Oiled Buffer Primary Area Compensation                                           K xL             $10,000
      N     Non-Oiled SCAT Zone Length (ft)                                                                       500
      O     Non-Oiled Primary Area Depth (Section 2. C. v.) (ft)                                                      30
                                         2
      P     Non-Oiled Primary Area (ft )                                                    N xO               15,000
                                                                                                         2
      Q     Non-Oiled Primary Area (acres)                                               P / 43,560 ft           0.34
      R     Non-Oiled Rate (Section 2. C. vi. c.)                                                             $11,000
      S     Non-Oiled Primary Area Compensation                                             Q xR               $3,788
      T     Wetlands Real Property Compensation Amount                                     G+M+S              $38,788




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     The final compensation amount shown in this Appendix is exclusive of an RTP of 2.50.

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